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       Ruggirello Ltr to Pltf re




                                                         State of New Jersey
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   Lt. Governor                                                   P.O. Box 112                        Director
                                                               Trenton, NJ 08625




                                                               June 17, 2021

              Via CM/ECF
              Hon. Anne E. Thompson, U.S.D.J.
              United States District Court, District of New Jersey
              Clarkson S. Fisher Building & U.S. Courthouse
              402 East State St.
              Trenton, NJ 08608

                                         Re:   Defense Distributed, et al. v. Gurbir Grewal,
                                               Civil Action Nos. 19-cv-4753 & 21-cv-9867 (Consolidated)

              Dear Judge Thompson:

                    This office represents Defendant Gurbir S. Grewal, Attorney General of New
              Jersey, in the above-captioned matters. We write to request a status conference to
              discuss both of these matters, which are now consolidated as a result of Your
              Honor’s June 11, 2021 order granting the State’s motion for consolidation. ECF 43,
              No. 19-cv-4753.

                     As our consolidation motion noted, the State plans to file a Rule 12 motion to
              dismiss both cases. However, because the stay of No. 19-cv-4753 is still in effect,
              see ECF 26 (Mar. 7, 2019), at this time the State would only be able to file a motion
              in No. 21-cv-9867. Given that the stay has not been lifted and that these consolidated
              cases raise substantively identical claims brought by the same plaintiffs, a status
              conference would help clarify the most efficient way for these cases to proceed,
              including by setting appropriate briefing schedules.

                                   Thank you for Your Honor’s attention to this matter.
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                                    Respectfully submitted,

                                    GURBIR S. GREWAL
                                    ATTORNEY GENERAL OF NEW JERSEY

                              By:   /s/ Tim Sheehan
                                    Tim Sheehan
                                    Deputy Attorney General

cc:   All counsel of record (via CM/ECF)
